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                        EXHIBIT 7
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                          Framework for Start-up Business Claims
The framework outlined below applies to claims for start-up businesses. For purposes of this
Framework, a “Start-up Business” is considered to be a claimant with less than eighteen
months of operating history at the time of the DWH Spill.1

I.       DEFINITIONS2

         Business Compensation Framework: Business Compensation Framework is the
         Compensation Framework for Business Economic Loss Claims.

         Compensation Period: The Compensation Period is selected by the claimant to include
         three or more consecutive months between May 2010 and April 2011.

         Benchmark Period: The Benchmark Period is the post-spill time period between May
         2011 and April 2012 corresponding to the months of the Compensation Period that
         serves as the basis for estimating the claimant’s Expected Profit during 2010.

         Fixed and variable payroll expenses shall be calculated in the same manner as in the
         Business Compensation Framework, provided that subpart 3 of the “Fixed & Variable
         Payroll Expenses (SG&A and COGS)” Definition shall be modified to identify the two
         months between May and December 2010 with the lowest Total Payroll Expense.

         Variable Costs shall be determined in accordance with Business Compensation
         Framework Attachment A.

II.      OVERVIEW

         As set forth more fully in the Compensation Calculation section below, 2010 claimant
         compensation (before any adjustments) will be calculated according to the following
         methodology:

         A.       Establish (i) the revenue the claimant would have expected to earn during the
                  Compensation Period in the absence of the DWH Spill (“Expected Revenue”), and
                  (ii) the variable costs the claimant would have expected to incur during the
                  Compensation Period (“Expected Costs”) to generate the Expected Revenue.


1
  This Framework for Start-up Business Claims does not apply to (i) Failed Businesses; (ii) Entities, Individuals or
Claims not included within the Economic Class definition; or (iii) Claims covered under the Seafood Program.
2
  In addition to the following, other terms are defined in this document and indicated by initial capitals.



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              The difference between Expected Revenue and Expected Costs is Expected
              Profit.

       B.     Calculate actual profit/loss realized by the claimant during the Compensation
              Period based on the difference between (i) actual revenue, and (ii) actual
              variable costs.

       C.     Deduct actual profit/loss from Expected Profit over the Compensation Period to
              determine the Base Compensation Loss.

III.   CAUSATION REQUIREMENTS

       A.     Start-Up Businesses in Zones A, B and C For Which Causation Shall Be
              Presumed

       1) If the claimant is a Start-up Business in Zone A that is not excluded pursuant to the
          exception agreed to by the parties, and listed in footnote (1), the claimant is not
          required to provide any evidence of causation.

       2) If the claimant is a Start-up Business meeting the definition of a “Commercial
          Fisherman,” or “Landing Site,” or “Commercial Wholesale or Retail Dealer A,” or
          “Primary Seafood Processor,” as set forth in “Seafood Distribution Chain
          Definitions,” the claimant is not required to provide any evidence of causation.

       3) If the claimant is a Start-up Business in Zone A, B or C and the claimant is also a
          “Commercial or Wholesale or Retail Dealer B,” or a “Secondary Seafood Processor,”
          or a “Seafood Wholesaler or Distributor,” or a “Seafood Retailer,” as set forth in
          “Seafood Distribution Chain Definition,” the claimant is not required to provide any
          evidence of causation.

       4) If the claimant is a Start-up business in Zone B, and the claimant also meets the
          “Tourism Definition,” the claimant is not required to provide any evidence of
          causation.

       5) If you are in Zone A, B or C, and you meet the “Charter Fishing Definition” you are
          not required to provide any evidence of causation.

       B.     Causation Requirements For Start-Up Businesses In Zones B and C

       If the claimant is located within Zones B or C and not entitled to a presumption, it must
       establish:




                                               2



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                  1.       UPTURN REVENUE PATTERN PLUS

                          a.       Claimant must demonstrate:

                                   1.       If in Zone B, an increase of an aggregate of 8.5% or more in
                                            total revenues over a period of three consecutive months
                                            from May 2011 to April 2012 compared to the same
                                            months from May 2010 to April 2011 as selected by the
                                            claimant;3

                                   2.       If in Zone C, an increase of an aggregate of 10% or more in
                                            total revenues over a period of three consecutive months
                                            from May 2011 to April 2012 compared to the same
                                            months from May 2010 to April 2011 as selected by the
                                            claimant;4


                                   AND

                          b.       one or more of the following:

                                   1.       For business claimants that have customers in Zones A-C,
                                            the claimant demonstrates proof of an aggregate of 10%
                                            increase in the share of total revenue generated by
                                            customers located in Zones A-C over the same period of
                                            three consecutive months from May 2011 to April 2012 as
                                            selected by the claimant for the upturn revenue pattern as
                                            identified in § III.B.1.a compared to the same three
                                            consecutive month period from May 2010 to April 2011,5
                                            as reflected in:

                                            (a)      customer credit card receipts or other
                                                     contemporaneously maintained records of
                                                     payment; or

                                            (b)      customer registration logs (e.g., hotel registries); or

                                            (c)      documentation maintained in the ordinary course
                                                     of business that lists customers by location and
                                                     monthly sales associated with those customers; or


3
  See Exhibit A attached hereto for an example of how this calculation is performed.
4
  See Exhibit A attached hereto for an example of how this calculation is performed.
5
  See Exhibit B attached hereto for an example of how this calculation is performed.
                                                         3



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                                           (d)      business documents reflecting contemporaneous
                                                    recording of receipts or invoices listing customers
                                                    by location; or

                                           (e)      Any other documentation providing evidence of
                                                    the portion of the claimant’s revenue projected to
                                                    be generated by customers in Zones A-C versus
                                                    outside of Zones A-C during the Compensation
                                                    Period. The claimant must be able to demonstrate
                                                    that the projections were prepared prior to the
                                                    DWH Spill and provided to and utilized by a
                                                    financial institution extending credit to the Start-up
                                                    Business.

                                           OR

                                   2.      For businesses meeting the Tourism Definition or the
                                           Seafood Distribution Chain Definition, the claimant
                                           demonstrates proof of an aggregate of 10% increase in the
                                           share of total revenue generated by non-local customers6
                                           over the same period of three consecutive months from
                                           May 2011 to April 2012 as selected by claimant for the
                                           upturn revenue pattern as identified in § III.B.1.a
                                           compared to the same three consecutive month period
                                           from May 2010 to April 2011,7 as reflected in:

                                           (a)      customer credit card receipts or other
                                                    contemporaneously maintained records of
                                                    payment; or

                                           (b)      documentation maintained in the ordinary course
                                                    of business that lists customers by location and
                                                    monthly sales associated with those customers; or

                                           (c)      business documents reflecting contemporaneous
                                                    recording of receipts or invoices listing customers
                                                    by location; or

                                           (d)      customer registration logs (e.g., hotel registries); or


6
  A Customer shall be considered a “non-local customer” if they reside more than 60 miles from a claimant
business location.
7
  See Exhibit C attached hereto for an example of how this calculation is performed.
                                                        4



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                             (e)     Any other documentation providing evidence of
                                     the portion of claimant’s revenue projected to be
                                     generated by local versus non-local customers
                                     during the Compensation Period. The claimant
                                     must be able to demonstrate that the projections
                                     were prepared prior to the DWH Spill and provided
                                     to and utilized by a financial institution extending
                                     credit to the Start-up Business.

          OR

          2.    Proof of Spill-Related Cancellations

               a.     Claimant may establish causation by providing contemporaneous
                      written evidence of spill-related reservation cancellations (i.e.,
                      letters, emails, hotel logs for the relevant time, or an affidavit
                      from an independent third party citing the DWH Spill as the
                      reason for cancellation) that the claimant was unable to rebook
                      (“Un-replaced Cancellations”). Proof of Un-replaced Cancellations
                      only establishes causation for those specific Un-replaced
                      Cancellations substantiated by the claimant and may result in
                      recovery only with respect to such Un-replaced Cancellations.
                      However, if the lodging facility has food and/or beverage services
                      on site, the evidence of Un-replaced Cancellations shall satisfy
                      causation for the specific losses corresponding to such Un-
                      replaced Cancellations in those service areas as well.

                      OR

               b.     The claimant provides contemporaneous written evidence of the
                      cancellation of a contract, or loss of previously-committed capital
                      investments from investors and/or business loans arising from the
                      DWH Spill that the claimant was not able to replace. In the
                      absence of contemporaneous written evidence, the claimant must
                      present an affidavit from an independent third party affirming
                      that the cancellation or loss was spill-related. Proof of any spill-
                      related contract cancellations or losses discussed above only
                      establishes causation for the specific loss substantiated by the
                      claimant and may result in recovery of amounts solely associated
                      with such loss.




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           C.       Causation Requirements for Start-Up Businesses in Zone D

                    If the claimant is located within Zone D, it must establish one or more of the
                    following:

                     1.       UPTURN REVENUE PATTERN PLUS

                             a.      an increase of an aggregate of 15% or more in total revenues over
                                     a period of three consecutive months from May 2011 to April
                                     2012 compared to the same months from May 2010 to April 2011
                                     as selected by the claimant;8


                                     AND

                             b.      one of the following:

                                     1.       For business claimants that have customers in Zones A-C,
                                              the claimant demonstrates proof of an aggregate of 10%
                                              increase in the share of total revenue generated by
                                              customers located in Zones A-C over the same period of
                                              three consecutive months from May 2011 to April 2012 as
                                              selected by the claimant for the upturn revenue pattern as
                                              identified in § III.C.1.a compared to the same three
                                              consecutive month period from May 2010 to April 2011,9
                                              as reflected in:

                                              (a)      customer credit card receipts or other
                                                       contemporaneously maintained records of
                                                       payment;

                                              (b)      customer registration logs (e.g., hotel registries);

                                              (c)      documentation maintained in the ordinary course
                                                       of business that lists customers by location and
                                                       monthly sales associated with those customers; or

                                              (d)      business documents reflecting contemporaneous
                                                       recording of receipts or invoices listing customers
                                                       by location.



8
    See Exhibit A attached hereto for an example of how this calculation is performed.
9
    See Exhibit B attached hereto for an example of how this calculation is performed.
                                                           6



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                                      OR

                                      2.       For businesses meeting the Tourism Definition or the
                                               Seafood Distribution Chain Definition, the claimant
                                               demonstrates proof of an aggregate of 10% increase in the
                                               share of total revenue generated by non-local customers
                                               over the same period of three consecutive months from
                                               May 2011 to April 2012 as selected by claimant for the
                                               upturn revenue pattern as identified in § III.C.1.a
                                               compared to the same three consecutive month period
                                               from May 2010 to April 2011,10 as reflected in:

                                               (a)     customer credit card receipts or other
                                                       contemporaneously maintained records of
                                                       payment; or

                                               (b)     customer registration logs (e.g., hotel registries).

                                               (c)     documentation maintained in the ordinary course
                                                       of business that lists customers by location and
                                                       monthly sales associated with those customers; or

                                               (d)     business documents reflecting contemporaneous
                                                       recording of receipts or invoices listing customers
                                                       by location.

                     2.       PROOF OF SPILL-RELATED CANCELLATIONS

                             a.       Claimant may establish causation by providing contemporaneous
                                      written evidence of spill-related reservation cancellations (i.e.,
                                      letters, emails, hotel logs for the relevant time, or an affidavit
                                      from an independent third party citing the DWH Spill as the
                                      reason for cancellation) that the claimant was unable to rebook
                                      (“Un-replaced Cancellations”). Proof of Un-replaced Cancellations
                                      only establishes causation for those specific Un-replaced
                                      Cancellations substantiated by the claimant and may result in
                                      recovery only with respect to such Un-replaced Cancellations.
                                      However, if the lodging facility has food and/or beverage services
                                      on site, the evidence of Un-replaced Cancellations shall satisfy
                                      causation for the specific losses corresponding to such Un-
                                      replaced Cancellations in those service areas as well.


10
     See Exhibit C attached hereto for an example of how this calculation is performed.
                                                           7



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                         OR

                  b.     The claimant provides contemporaneous written evidence of the
                         cancellation of a contract, or loss of previously-committed capital
                         investments from investors and/or business loans arising from the
                         DWH Spill that the claimant was not able to replace. In the
                         absence of contemporaneous written evidence, the claimant must
                         present an affidavit from an independent third party affirming
                         that the cancellation or loss was spill-related. Proof of any spill-
                         related contract cancellations or losses discussed above only
                         establishes causation for the specific loss substantiated by the
                         claimant and may result in recovery of amounts solely associated
                         with such loss.

IV.   COMPENSATION CALCULATION

      A.   Determination of Claimant’s Expected Profit/Loss

            1.     Claimant’s Expected Revenue and Expected Costs shall equal,
                   respectively:

                  a.     Actual revenue earned and actual variable costs incurred by
                         claimant’s business during the Benchmark Period; or

                  b.     Claimants can alternatively elect to establish Expected Revenue
                         and Expected Costs based on financial projections for the Start-up
                         Business. Projections must be prepared prior to the DWH Spill
                         and provided to and utilized by a financial institution, other entity
                         in the primary business of lending or investing money (ex.- private
                         equity firms, investment banks, etc.), or non-family private
                         investors with business lending experience (hereafter referred to
                         as “Lender”) who confirm their use of such projections in
                         extending credit to the Start-up Claimant.

                  c.     Regardless of the basis upon which Expected Revenue and
                         Expected Costs are established, the determination will exclude
                         any one-time non-operating income/expenses (including, but not
                         limited to, any business interruption insurance proceeds received
                         by the claimant during the relevant period), any payments
                         received by the claimant from BP or the GCCF pursuant to BP’s
                         OPA Claims process for the same business claim.


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                  2.       Claimant’s Expected Profit/Loss for the Compensation Period will be
                           calculated as the difference between the claimant’s Expected Revenue
                           and Expected Costs, provided that Expected Revenue and Expected
                           Costs must both be based on actual results from the Benchmark Period,
                           or, if alternatively selected by claimants in Zones B and C, both Expected
                           Revenue and Expected Costs must both be based on qualifying
                           projections as described herein.

         B.      Determination of Claimant’s Actual Profit/Loss

                  1.       Actual Profit/Loss generated over the Compensation Period will be
                           calculated as the difference between (i) the claimant’s actual revenues
                           and (ii) the claimant’s actual variable costs, both for the Compensation
                           Period.

                  2.       Actual revenue and actual Variable Costs will exclude any one-time non-
                           operating income/expenses (including any business interruption
                           insurance proceeds received by the claimant during the relevant period),
                           any payments received by the claimant from BP or the GCCF pursuant to
                           BP’s OPA Claims process. Further, for claimants that participated in the
                           VoO program, Actual Profit/Loss will exclude revenue generated by or
                           costs incurred in connection with VoO.11

         C.      Calculation of Claimant Compensation

                  1.       Calculate the claimant’s Base Compensation Loss as the difference
                           between (i) claimant’s Expected Profit/Loss and (ii) the claimant’s Actual
                           Profit/Loss generated over the Compensation Period.

                  2.       Apply the agreed-upon RTP.

                  3.       Deduct any payments received by the claimant from BP or the GCCF
                           pursuant to BP’s OPA claims process, any VoO Settlement Payment
                           Offset and VoO Earned Income Offset, where applicable.

         D.      DOCUMENTATION REQUIREMENTS

                 In addition to the relevant information requirements set forth in the
                 Documentation Requirements for Business Claims, the following supplemental
                 information may be required:

11
  Claimants are required to report payments received under the VoO program. If claimants that received VoO
payments fail separately to report costs incurred in VoO and non-VoO activities, then Actual Profit/Loss for non-
VoO activity alone can be determined through a pro-rata revenue based allocation of variable costs between VoO
and non-VoO related activities.
                                                        9



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          1.    Contemporaneously prepared monthly financial statements from the
                inception of the start-up business through 2011.

          2.    Documents evidencing loss of previously-committed capital investments
                from investors and/or business loans due, and the inability to procure
                replacement financing, as relevant. Acceptable documentation includes
                a letter withdrawing capital, or other contemporaneous documentation
                evidencing the investment withdrawal.

          3.    Evidence of any payments received by the claimant from BP or the GCCF
                pursuant to BP’s OPA claims process.

          4.    All financial projections (or business plans containing financial
                projections) prepared for the Start-up Business prior to the DWH Spill,
                and contemporaneous documentation and/or written confirmation from
                the Lender establishing that such projections were submitted to and
                utilized by the Lender prior to extending credit to the Start-up Business.

               a.     Additional documentation as necessary to provide the
                      background and experience of any Lenders not regulated by a
                      government agency (ex.- FDIC, SEC, etc.).

               b.     Written confirmation from Lender that projections submitted as
                      part of the claim were utilized by the Lender in granting credit
                      prior to the DWH Spill.

          5.    Claimants shall provide an executed subrogation waiver or indemnity in
                the release.




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Exhibit A

          Example of Upturn Revenue Causation Tests for Start-Up Business Claims
                      Claimant in Zone B (8.5% Upturn Revenue Test)


Examples 1 and 2 demonstrate a claimant that passes or fails the Upturn Revenue Causation Test.


Example 1:                                    Revenue by Year
Month                                     2010              2011

June                                       285,000             320,000
July                                       330,000             350,000
August                                     295,000             335,000

3-Month Aggregate:                       910,000             1,005,000
[Sum of June, July, August]
                          Upturn Revenue Percentage:                10.4% =(1,005,000 - 910,000)/910,000
Claimant Passes Upturn Revenue Test



Example 2:                                    Revenue by Year
Month                                     2010              2011

June                                       285,000             290,000
July                                       330,000             330,000
August                                     295,000             315,000

3-Month Aggregate:                       910,000               935,000
[Sum of June, July, August]
                          Upturn Revenue Percentage:                  2.7% =(935,000 - 910,000)/910,000
Claimant Fails Upturn Revenue Test

Notes:

Upturn Revenue Causation Test works in the same way for claimants in Zones C or D, with higher thresholds
for the revenue upturn. In Zone C the upturn revenue percentage must be 10%. In Zone D the upturn revenue
percentage must be 15%.

In these examples the Start-Up business claimant has selected June, July, and August as the three consecutive
months to use.




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          Example of Upturn Revenue Causation Tests for Start-Up Business Claims
                      Claimant in Zone B (8.5% Upturn Revenue Test)

Example 3 demonstrates that under an aggregate test, three months of revenues are summed. The individual
months may be up or down, as long as the three month aggregate period passes the test.



Example 3A:                                   Revenue by Year
Month                                     2010              2011

June                                       285,000             320,000
July                                       330,000             350,000
August                                     295,000             335,000

3-Month Aggregate:                       910,000             1,005,000
[Sum of June, July, August]
                          Upturn Revenue Percentage:                10.4% =(1,005,000 - 910,000)/910,000
Claimant Passes Upturn Revenue Test


Example 3B:                                   Revenue by Year
Month                                     2010              2011

June                                       285,000             220,000
July                                       330,000             450,000
August                                     295,000             335,000

3-Month Aggregate:                       910,000             1,005,000
[Sum of June, July, August]
                          Upturn Revenue Percentage:                10.4% =(1,005,000 - 910,000)/910,000
Claimant Passes Upturn Revenue Test


Example 3C:                                   Revenue by Year
Month                                     2010              2011

June                                       285,000             220,000
July                                       330,000             250,000
August                                     295,000             535,000

3-Month Aggregate:                       910,000             1,005,000
[Sum of June, July, August]
                          Upturn Revenue Percentage:                10.4% =(1,005,000 - 910,000)/910,000
Claimant Passes Upturn Revenue Test
Notes:

Upturn Revenue Causation Test works in the same way for claimants in Zones C or D, with higher thresholds for
the revenue upturn. In Zone C the upturn revenue percentage must be 10%. In Zone D the upturn revenue
percentage must be 15%.
                                                       12
In these examples the Start-Up business claimant has selected June, July, and August as the three consecutive
months to use.
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Exhibit B
      Example of Customer Mix Test for Start Up Business Claimants
                       (Customers in Zones A-C)
            Based on 3-month time period selected for Modified V or Down-Only test

     Example 1:             LT= Less than                    GE=Greater than or equal to
     Customer Residence     Aggregate of June-August '10      Aggregate of June-August '11

     Zone D                              $80,000                             $85,000
     Zones A-C                           $20,000                             $25,000
     Total                              $100,000                            $110,000
     % Zones A-C                          20%                                23%
                            Claimant passes Customer Mix Test: Claimant has a 15 percent
                            increase in share of revenue from customers in Zones A-C [15%=
                            .15 = (23-20)/20]



     Example 2:
     Customer Residence     Aggregate of June-August '10       Aggregate of June-August '11

     Zone D                            $50,000                            $55,000
     Zones A-C                         $50,000                            $55,000
     Total                            $100,000                           $110,000
     % Zones A-C                         50%                              50%
                            Claimant fails Customer Mix Test: No change in share of revenue
                            from customers in Zones A-C.


     Example 3:
     Customer Residence     Aggregate of June-August '10       Aggregate of June-August '11

     Zone D                              $50,000                            $55,000
     Zones A-C                           $50,000                            $65,000
     Total                              $100,000                          $120,000
     % Zones A-C                          50%                              54%
                            Claimant fails Customer Mix Test: Claimant has an 8% increase
                            in share of revenue from customers in Zones A-C [8% = .08 = (54-
                            50)/50]




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Exhibit C

      Example of Customer Mix Test for Start Up Business Claimants
                       (Non-Local Customers)
            Based on 3-month time period selected for Modified V or Down-Only test

     Example 1:              LT= Less than                   GE=Greater than or equal to
     Customer Residence      Aggregate of June-August '10     Aggregate of June-August '11

     LT 60 miles from claimant            $80,000                            $85,000
     GE 60 miles from claimant            $20,000                            $25,000
     Total                              $100,000                            $110,000
     % GE 60 miles                         20%                               23%
                             Claimant passes Customer Mix Test: Claimant has a 15 percent
                             increase in share of revenue from non-local customers [15%= .15
                             = (23-20)/20]



     Example 2:
     Customer Residence      Aggregate of June-August '10      Aggregate of June-August '11

     LT 60 miles from claimant          $50,000                            $55,000
     GE 60 miles from claimant          $50,000                            $55,000
     Total                             $100,000                           $110,000
     % GE 60 miles                        50%                              50%
                             Claimant fails Customer Mix Test: No change in share of revenue
                             from non-local customers.


     Example 3:
     Customer Residence      Aggregate of June-August '10      Aggregate of June-August '11

     LT 60 miles from claimant            $50,000                            $55,000
     GE 60 miles from claimant            $50,000                            $65,000
     Total                               $100,000                           $120,000
     % GE 60 miles                         50%                               54%
                             Claimant fails Customer Mix Test: Claimant has an 8% increase
                             in share of revenue from non-local customers [8% = .08 = (54-
                             50)/50]



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